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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :     CRIMINAL NO. 1:92-CR-319
                                         :
             v.                          :     (Chief Judge Conner)
                                         :
ORLANDO SANCHEZ                          :

                                      ORDER

      AND NOW, this 6th day of March, 2018, upon consideration of the Motion

(Doc. 281) to Stay Further Proceedings in this Case, it is hereby ORDERED that

said motion is GRANTED. Counsel for the Petitioner shall notify the Court when

the United States Court of Appeals for the Third Circuit renders a decision in

United States v. Green, 3d Cir. No. 17-2906.




                                       /S/ CHRISTOPHER C. CONNER_______
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
